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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

                                        Case No. 0:24cv61482
  JONATHAN CRUZ,

         Plaintiff,                                              JURY TRIAL DEMANDED

  v.                                                             INJUNCTIVE RELIEF SOUGHT

  CROSS RIVER BANK, and ABOVE
  LENDING INC,

        Defendants.
  _______________________________________/

                                             COMPLAINT

         Plaintiff Jonathan Cruz (“Plaintiff”) sues Cross River Bank and Above Lending Inc

  (collectively, the “Defendants”) for violations the Florida Consumer Collection Practices Act

  (“FCCPA”) and Fair Debt Collection Practices Act (“FDCPA”).

                                   JURISDICTION AND VENUE

         1.      Jurisdiction of this Court arises under 15 U.S.C. §1692k(d), 28 U.S.C. § 1331, and

  28 U.S.C. § 1337.

         2.      Venue in this District is proper because Plaintiff resides here, Defendants transact

  business here, and the complained conduct of Defendants occurred here.

                                               PARTIES

         3.      Plaintiff is a natural person, and a citizen of the State of Florida, residing in Broward

  County, Florida.

         4.      Defendant Cross River Bank (“Defendant-Creditor”) is a New Jersey Corporation,

  with its principal place of business located in Teaneck, New Jersey.




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          5.      Defendant Above Lending Inc (“Defendant-DC”) is a Delaware corporation, with

  its principal place of business located in Huston, Texas.

                                    DEMAND FOR JURY TRIAL

          6.      Plaintiff, respectfully, demands a trial by jury on all counts and issues so triable.

                                            ALLEGATIONS

          7.      On a date better known by Defendant-Creditor, Defendant-Creditor began

  attempting to collect a debt (the “Consumer Debt”) from Plaintiff.

          8.      The Consumer Debt is an obligation allegedly had by Plaintiff to pay money arising

  from a transaction between the original creditor of the Consumer Debt, Cross River Bank, and

  Plaintiff (the “Subject Service”).

          9.      The Subject Service was primarily for personal, family, or household purposes.

          10.     In particular, the Consumer Debt relates to An unsecured line of credit with an

  account number ending in 1948.

          11.     Defendant-Creditor is a “person” within the meaning of Fla. Stat. § 559.72.

          12.     Defendant-DC is a “person” within the meaning of Fla. Stat. § 559.72.

          13.     On September 22, 2023, Defendant-Creditor was notified in writing (the “Notice”)

  that: [1] Plaintiff was represented by an attorney with respect to the Consumer Debt; [2] Plaintiff

  revoked any consent Defendant-Creditor had to communicate with Plaintiff directly; [3]

  Defendant-Creditor was not to contact Plaintiff directly; and [4] any correspondence should be

  sent to Plaintiff’s attorney.

          14.     Defendant-Creditor received the Notice on September 22, 2023.

          15.     Attached as Exhibit “A” is the Notice.




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          16.     Upon receipt of the Notice, Defendant-Creditor knew that it could not communicate

  with Plaintiff directly in connection with the collection of the Consumer Debt.

          17.     Upon receipt of the Notice, Defendant-Creditor knew Plaintiff was represented by

  an attorney with respect to the Consumer Debt.

          18.     Upon receipt of the Notice, Defendant-Creditor knew it could not attempt to collect

  the Consumer Debt from Plaintiff directly.

          19.     By and through the Notice, Defendant-Creditor had knowledge of, or can readily

  ascertain, the name of Plaintiff’s attorney name and the address of Plaintiff’s attorney.

          20.     Despite knowing that Plaintiff was represented by an attorney with respect to the

  Consumer Debt and that Defendant-Creditor was not permitted to contact Plaintiff directly,

  Defendant-Creditor contracted with Defendant-DC to collect, or attempt to collect, the Consumer

  Debt from Plaintiff.

          21.     In contracting with Defendant-DC to collect, or attempt to collect, the Consumer

  Debt from Plaintiff, Defendant-Creditor disclosed to Defendant-DC that, among other things: [1]

  the existence of the Consumer Debt; [2] the creditor of the Consumer Debt; and [3] the amount of

  the Consumer Debt.

          22.     In contracting with Defendant-DC to collect, or attempt to collect, the Consumer

  Debt from Plaintiff, Defendant-Creditor disclosed to Defendant-DC that, among other things: [1]

  Plaintiff disputed the Consumer Debt; [2] Plaintiff was represented by an attorney with respect to

  the Consumer Deb; and [3] provided Defendant-DC with information sufficient to allow

  Defendant-DC to readily ascertain the name of Plaintiff’s attorney name and the address of

  Plaintiff’s attorney.




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           23.   On a date better known by Defendants, Defendant-DC, on behalf of Defendant-

  Creditor, began attempting to collect the Consumer Debt from Plaintiff.

           24.   Defendant-DC is a business entity engaged in the business of soliciting consumer

  debts for collection.

           25.   Defendant-DC is a business entity engaged in the business of collecting consumer

  debts.

           26.   Defendant-DC regularly collects or attempts to collect, directly or indirectly, debts

  owed or due or asserted to be owed or due another.

           27.   Defendant-DC is registered with the Florida Office of Financial Regulation as a

  “Consumer Collection Agency.”

           28.   Defendant-DC’s “Consumer Collection Agency” license number is unknown.

           29.   Defendant-DC maintains all the records specified in Rule 69V-180.080, Florida

  Administrative Code.

           30.   The records specified by Rule 69V-180.080, Florida Administrative Code, of which

  Defendant-DC does maintain, are current to within one week of the current date.

           31.   For Defendant-DC’s “Consumer Collection Agency” license to remain valid,

  Defendant-DC is required to maintain, at minimum, all records specified in Rule 69V-180.080,

  Florida Administrative Code, and keep such records current within one week of the current date.

           32.   Rule 69V-180.080(3)(e) of the Florida Administrative Code commands that

  Defendant-DC shall maintain: “[t]he debtor’s account of activity disclosing… a record of

  payments made by the debtor, including the date received and the amount and balance owing.”

           33.   Rule 69V-180.080(9)(a)-(b) of the Florida Administrative Code commands that

  Defendant-DC shall maintain: “basic information about the debt including, at minimum…



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  [d]ocumentation of the debt provided by the creditor,” as well as “[t]he date the debt was incurred

  and the date of the last payment.”

         34.     Despite knowing that Plaintiff was represented by an attorney with respect to the

  Consumer Debt and Plaintiff could not be contacted directly, Defendant-Creditor, by and through

  Defendant-DC, sent Plaintiff a letter, internally dated February 29, 2024, (the “Collection Letter”)

  in an attempt to collect the Consumer Debt.

         35.     Attached as Exhibit “B” is a copy of the Collection Letter.

         36.     The Collection Letter is a communication from Defendant-Creditor by and through

  Defendant-DC.

         37.     The Collection Letter is a communication from Defendant-Creditor to Plaintiff in

  connection with the collection of the Consumer Debt.

         38.     The Collection Letter is a communication from Defendant-DC to Plaintiff in

  connection with the collection of the Consumer Debt.

         39.     The Collection Letter represents an action to collect a debt by Defendant-Creditor.

         40.     The Collection Letter represents an action to collect a debt by Defendant-DC.

         41.     The Collection Letter fails to disclose or communicate to Plaintiff that the

  Consumer Debt.

         42.     Receiving the Collection Letter caused Plaintiff to waste time.

         43.     Plaintiff would not have received the Collection Letter and expended time

  deliberating what action was required in respond to the Collection Letter had Defendants

  communicated directly with Plaintiff’s attorney as requested by Plaintiff in the Notice.

         44.     Plaintiff wasted time opening and reviewing the Collection Letter, as well as wasted

  time questioning why Plaintiff received the Collection Letter instead of Plaintiff’s attorney.



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          45.   The Collection Letter caused Plaintiff to be confused as to why Plaintiff was

  receiving direct communications regarding the Consumer Debt, as Plaintiff knew Defendant-

  Creditor was notified that Plaintiff was represented by an attorney, disputed the Consumer Debt,

  and that all communications concerning the Consumer Debt was to be directed to Plaintiff’s

  attorneys.

          46.   The Collection Letter communicates credit information by representing the

  Consumer Debt as in default with payment past-due and otherwise outstanding, identifying the

  creditor of the Consumer Debt, and stating the amount of the Consumer Debt purportedly owed to

  Defendant-Creditor.

          47.   The Collection Letter fails to communicate that the Consumer Debt is disputed by

  Plaintiff.

                                          COUNT 1
                           VIOLATION OF FLA. STAT. § 559.72(18)
                                (against Defendant-Creditor)

          48.   Plaintiff incorporates by reference paragraphs 7 through 47 of this Complaint.

          49.   Section 559.72, Fla. Stat., of the FCCPA contains nineteen subsections and

  otherwise codifies an extensive list of acts and/or omissions that the FDCPA does not explicitly

  prohibit. Accordingly, in collecting consumer debts, pursuant to the FCCPA no person shall:

  “[c]ommunicate with a debtor if the person knows that the debtor is represented by an attorney

  with respect to such debt and has knowledge of, or can readily ascertain, such attorney’s name

  and address….” Fla. Stat. §559.72(18) (emphasis added).

          50.   As stated above, Defendant-Creditor knew Plaintiff was represented by an attorney

  with respect to the Consumer Debt as of September 22, 2023. Despite knowing this, Defendant-

  Creditor communicated and/or contact Plaintiff directly, by and through the Collection Letter it



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  (Defendant-Creditor) contracted with Defendant-DC to send, in connection with the collection of

  the Consumer Debt.

         51.     Accordingly,     Defendant-Creditor     violated   Fla.   Stat.   §   559.72(18)    by

  communicating directly with Plaintiff in connection with the collection of Consumer Debt via the

  Collection Letter it (Defendant-Creditor) contracted with Defendant-DC to send to Plaintiff.

         52.     WHEREFORE, Plaintiff, respectfully, requests this Court to enter a judgment

  against Defendant-Creditor, awarding Plaintiff the following relief: [1] Statutory and actual

  damages as provided under Fla. Stat. § 559.77(2); [2] An injunction prohibiting Defendant-

  Creditor from engaging in further collection activities directed at Plaintiff that are in violation of

  the FCCPA; [3] Costs and reasonable attorneys’ fees pursuant to Fla. Stat. § 559.77(2); and [4]

  Any other relief that this Court deems appropriate under the circumstances.

                                            COUNT 2
                             VIOLATION OF FLA. STAT. § 559.72(6)
                                  (against Defendant-Creditor)

         53.     Plaintiff incorporates by reference paragraphs 7 through 47 of this Complaint.

         54.     Pursuant to § 559.72(6) of the FCCPA, in collecting consumer debts, no person

  shall: “[d]isclose information concerning the existence of a debt known to be reasonably disputed

  by the debtor without disclosing that fact.” Fla Stat. § 559.72(6) (emphasis added).

         55.     As stated above, after Defendant-Creditor was notified on September 22, 2023, that

  Plaintiff disputed the Consumer Debt by and through the Notice, Defendant-Creditor contracted

  with Defendant-DC to collect, or attempt to collect the Consumer Debt from Plaintiff. In so doing,

  Defendant-Creditor disclosed to Defendant-DC the existence of the Consumer Debt, that the

  Consumer Debt was owed to Defendant-Creditor by Plaintiff; and that Plaintiff did not pay the

  Consumer Debt and/or defaulted on the Consumer Debt. Thus, to the extent Defendant-DC claims



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  it was not notified by Defendant-Creditor that Plaintiff disputed the validity of the Consumer Debt,

  Defendant-Creditor violated § 559.72(6) by failing to disclose to Defendant-DC that that fact when

  contracting with Defendant-DC to collect, or attempt to collect the Consumer Debt.

         56.     WHEREFORE, Plaintiff, respectfully, requests this Court to enter a judgment

  against Defendant-Creditor, awarding Plaintiff the following relief: [1] Statutory and actual

  damages as provided under Fla. Stat. § 559.77(2); [2] An injunction prohibiting Defendant-

  Creditor from engaging in further collection activities directed at Plaintiff that are in violation of

  the FCCPA; [3] Costs and reasonable attorneys’ fees pursuant to Fla. Stat. § 559.77(2); and [4]

  Any other relief that this Court deems appropriate under the circumstances.

                                           COUNT 3
                              VIOLATION OF 15 U.S.C. § 1692c(a)(2)
                                    (against Defendant-DC)

         57.     Plaintiff incorporates by reference paragraphs 7 through 47 of this Complaint.

         58.     Pursuant to § 1692c(a)(2) of the FDCPA, “…a debt collector may not communicate

  with a consumer in connection with the collection of any debt … if the debt collector knows the

  consumer is represented by an attorney with respect to such debt and has knowledge of, or can

  readily ascertain, such attorney’s name and address.” 15 U.S.C. § 1692c(a)(2).

         59.     As set forth above, in contracting with Defendant-DC to collect, or attempt to

  collect, the Consumer Debt, Defendant-Creditor informed Defendant-DC that Plaintiff was

  represented by an attorney with respect to the Consumer debt and provided Defendant-DC with

  information sufficient to allow Defendant-DC to readily ascertain the name of Plaintiff’s attorney

  name and the address of Plaintiff’s attorney.




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         60.     Accordingly, Defendant-DC violated § 1692c(a)(2) of the FDCPA by

  communicating directly with Plaintiff in connection with the collection of Consumer Debt via the

  Collection Letter.

         61.     WHEREFORE, Plaintiff, respectfully, requests this Court to enter a judgment

  against Defendant-DC, awarding Plaintiff the following relief: [1] statutory and actual damages as

  provided by 15 U.S.C. § 1692k; [2] costs and reasonable attorneys’ fees pursuant to 15 U.S.C. §

  1692k; and [3] any other relief that this Court deems appropriate under the circumstances.

                                          COUNT 4
                              VIOLATION OF 15 U.S.C. § 1692e(8)
                                   (against Defendant-DC)

         62.     Plaintiff incorporates by reference paragraphs 7 through 47 of this Complaint.

         63.     Pursuant to § 1692e(8) of the FDCPA, debt collectors are prohibited from

  communicating with “any person credit information which is known or which should be known to

  be false, including the failure to communicate that a disputed debt is disputed.” 15 U.S.C. §

  1692e(8).

         64.     As set forth above, Defendant-DC knew that Plaintiff disputed the Consumer Debt

  because, in contracting with Defendant-DC to collect, or attempt to collect, the Consumer Debt,

  Defendant-Creditor informed Defendant-DC that Plaintiff disputed the Consumer Debt. As

  mentioned above, however, the Collection Letter fails disclose or otherwise communicate to

  Plaintiff that the Consumer Debt is disputed.

         65.     Thus, Defendant-DC violated § 1692c(a)(2) of the FDCPA by failing to

  communicate and/or disclose in the Collection Letter that the Consumer Debt is disputed.

         66.     WHEREFORE, Plaintiff, respectfully, requests this Court to enter a judgment

  against Defendant-DC, awarding Plaintiff the following relief: [1] statutory and actual damages as



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  provided by 15 U.S.C. § 1692k; [2] costs and reasonable attorneys’ fees pursuant to 15 U.S.C. §

  1692k; and [3] any other relief that this Court deems appropriate under the circumstances.

         DATED: August 13, 2024
                                                  Respectfully Submitted,

                                                   /s/ Thomas Patti                            .
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